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10
   Attorneys for Defendant
11
   JOHN DOE subscriber assigned
12 IP Address 174.85.39.241

13

14
                          UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16

17 STRIKE 3 HOLDINGS, LLC,                      Case No.: 2: 20-cv-00975-TJH-SP
18                       Plaintiff,             JOINT STIPULATION FOR
                                                ENTRY OF FINAL JUDGMENT
19 vs.                                          UNDER FRCP 68
                                                (ECF 18-1, ECF 20)
20 JOHN DOE subscriber assigned IP

21 address 174.85.39.241,

22                       Defendant.

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24
            Plaintiff Strike 3 Holdings, LLC (“Plaintiff”), by and through its counsel of
25
      record Lincoln D. Bandlow, and Defendant John Doe Infringer Identified as Using
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                  JOINT STIPULATION FOR AN ORDER DIRECTING THE CLERK TO
                         ENTER FINAL JUDGMENT PURSUANT TO FRCP 68

                                                         Case No. 2:20-cv-00975-TJH-SP
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 1 IP Address 174.85.39.241 (“Doe”), by and through Doe’s counsel of record J. Curtis

 2 Edmondson hereby stipulate as follows:

 3          WHEREAS, Defendant offered, pursuant to Federal Rule of Civil Procedure
 4 (“FRCP”) 68, that a judgment be entered in the amount of $3,500.00, inclusive of

 5 attorneys’ fees and costs, for all infringements as listed in the Complaint (ECF 1 and

 6 1-1) in favor of Plaintiff and against Defendant in the form attached hereto as

 7 Exhibit A;

 8          WHEREAS, Plaintiff timely accepted that offer;
 9          WHEREAS, Defendant requested that the Clerk enter the judgment pursuant
10 to FRCP 68;

11          WHEREAS, this Court ordered that the parties submit a stipulation setting
12 forth and disclosing the nature of the offer (ECF 20); and

13          WHEREAS, the parties herby submit to the Court the nature of that offer by
14 attaching Exhibit A.

15          THEREFORE, the parties respectfully request that the Court enter judgment
16 in this matter pursuant to FRCP 68 by entering the [Proposed] Order submitted

17 concurrently with this Stipulation.

18

19 August 18, 2020                          August 18, 2020
20
   /s/ Lincoln D. Bandlow___________ /s/ J. Curtis Edmondson________________
21 Lincoln D. Bandlow                J. Curtis Edmondson
   LAW OFFICES OF                    EDMONDSON IP LAW
22 LINCOLN BANDLOW, PC

23 Attorneys for Plaintiff                  Attorneys for Defendant
      Strike 3 Holdings, LLC                John Doe
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                  JOINT STIPULATION FOR AN ORDER DIRECTING THE CLERK TO
                         ENTER FINAL JUDGMENT PURSUANT TO FRCP 68

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